                         UNITED STATES DISTRICT COURT

                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

       Plaintiff,

       v.

TEODORO MERAZ,
ANDREW R. OBLAK,                                                       Case No. 06-Cr-335
ANA HURTADO,
ANTONIO CRUZ,
JOSE MERAZ,
PEDRO ROMO,
FIDEL MORENO and
RICHARD WELSH,

       Defendants.


                    MAGISTRATE JUDGE'S RECOMMENDATION TO THE
                       HONORABLE LYNN ADELMAN AND ORDER
                        REGARDING DEFENDANT ANA HURTADO


                                     NATURE OF CASE

       On December 14, 2006, a federal grand jury sitting in this district returned a three-count

indictment against defendants Teodoro Meraz, Andrew R. Oblak, Ana Hurtado, Antonio Cruz,

Jose Meraz, Pedro Romo, Alejandro Romo, a/k/a “El Caballo,” Fidel Moreno and Richard

Welsh. The defendants are all charged in Count One with conspiracy to distribute five

kilograms or more of a mixture containing cocaine, a Schedule II controlled substance, in

violation of 21 U.S.C. § 846, § 841(b)(1)(A)(ii) and 18 U.S.C. § 2. Three of the defendants are

named in the substance drug counts charged in Counts Two and Three. The indictment also

contains a forfeiture provision.




   Case 2:06-cr-00335-LA       Filed 08/03/07     Page 1 of 21     Document 113
       Defendant Ana Hurtado (defendant) appeared before United States Magistrate Judge

Aaron E. Goodstein for arraignment on December 15, 2006, entering a plea of not guilty.

Pursuant to the pretrial scheduling order issued at that time, she filed the following motions:

motion for disclosure Fed. R. Evid. 404(b) evidence (Docket #72); motion to compel discovery

(Docket #76); motion to suppress evidence (Docket #77); motion to suppress Title III

intercepted statements (Docket #78); and motion dismiss Count I of the indictment. (Docket

#79). These motions will be addressed herein.

                     MOTION TO DISCLOSE RULE 404b EVIDENCE

       Defendant Hurtado seeks disclosure of other crimes, wrongs or acts evidence pursuant

to Fed. R. Evid. 404(b). The government did not file a response to this motion.

       Rule 404(b) requires the government to give notice of its intention to use other crimes,

wrongs, or acts evidence. "Other acts" evidence is admissible if: "1) the evidence is directed

toward establishing a matter in issue other than the defendant's propensity to commit the

crime charged; 2) the evidence shows that the other act is similar enough and close enough

in time to be relevant to the matter in issue; 3) the evidence is sufficient to support a jury

finding that the defendant committed the similar act; 4) the probative value of the evidence is

not substantially outweighed by the danger of unfair prejudice." United States v. O'Brien, 119

F.3d 523, 529 (7th Cir. 1997); United States v. Yusufu, 63 F.3d 505, 511 (7th Cir. 1995); see

also, United States v. Smith, 103 F.3d 600, 603 (7th Cir. 1996).

       Notice of intention to use such evidence must be provided regardless of whether the

government intends to use the evidence during its case-in-chief at trial, for impeachment or

for possible rebuttal. See Advisory Committee Notes, 1991 Amendments to Rule 404(b). The

rule makes no provision for the timing of the notice. Rather, the rule provides that the

                                             -2-


   Case 2:06-cr-00335-LA       Filed 08/03/07    Page 2 of 21    Document 113
government “shall provide reasonable notice in advance of trial.” Fed. R. Evid. 404(b). What

constitutes reasonable notice will depend largely on the circumstances of each case. See

Advisory Committee Notes, 1991 Amendments to Rule 404(b). The defendant’s motion

seeking disclosure of Rule 404(b) evidence will be granted. The government will be required

to provide notice of the general nature of any other crimes evidence it intends to introduce at

trial three weeks prior to trial.

                               MOTION TO COMPEL DISCOVERY

       The defendant seeks an order compelling the government to disclose 1) interim Title

III reports, 2) statements of cooperating individuals who have implicated her criminal activity,

and 3) minimization logs.1 The government declines to disclose the 10 day progress reports

to the district court that issued the Title III intercept orders and, according to the defendant,

has indicated its willingness to provide the minimization logs. The government does not

address the defendant’s motion seeking disclosure of statements of cooperating individuals.

                      Interim Title III Reports (10 day progress reports)

       The defendant seeks an order requiring disclosure of the interim Title III reports,

contending that such reports are essential for her determination as to whether the government

has complied with Title III application and implementation requirements. In opposing the

motion, the government states that there is no right to discovery of the 10 day progress

reports. Rather, the government states that the purpose of the reports prepared pursuant to




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               The defendant also seeks Rule 404(b) materials. The court has addressed this
               request in its decision on the defendant’s separate motion seeking such evidence.

                                                    -3-


   Case 2:06-cr-00335-LA            Filed 08/03/07      Page 3 of 21        Document 113
18 U.S.C. §2518(6)2 is “so that possible abuses might be quickly detected and halted” by the

court, quoting United States v. Chimera, 201 F.R.D. 72, 76-78 (W.D. N.Y. 2001) (citing United

States v. Kahn, 415 U.S. 143, 154-55 [1974]). (Government’s Consolidated Response to

Defendants’ Motions at 15).

       Section 2518(6) of Title 18, United States Code, provides:

               Whenever an order authorizing interception is entered pursuant to this
       chapter [18 USCS §§ 2510 et seq.], the order may require reports to be made
       to the judge who issued the order showing what progress has been made toward
       achievement of the authorized objective and the need for continued interception.
       Such reports shall be made at such intervals as the judge may require.

An authorizing judge has broad discretion and may dispense with such progress reports

entirely. See United States v. Brodson, 390 F.Supp. 774, 777 (E.D. Wis. 1975). In United

States v. Chimera, 201 F.R.D. 72, 76-78 (W.D. N.Y. 2001), the court noted that the purpose

of progress reports pursuant to § 2518(6) is "so that any possible abuses might be quickly

detected and halted" by the court, thereby furthering Congress' objective in enacting Title III

of limiting the extent of court authorized intrusions on the privacy of oral communications,

citing United States v. Kahn, 415 U.S. 143, 154-55 (1974).

       In Chimera, the court rejected a contention similar to that advanced by the defendant

in the instant case. The court held that the information contained in such reports would not

"materially aid" the defendants' quest to discover potential defects in the initial applications for

the Title III orders or in the execution or extensions of such orders. Id. at 77.




       2
              The government again mistakenly references §2517(6) for this proposition. See
              Court’s Order of April 13, 2005, in United States v. Arnett, Case No. 04-CR- 285, at
              11.

                                                    -4-


   Case 2:06-cr-00335-LA          Filed 08/03/07         Page 4 of 21        Document 113
       The court concurs with the analysis set forth in Chimera and further notes that courts

have generally rejected similar requests for progress reports. See United States v. Wright,

121 F.Supp.2d 1344, 1349-50 (D. Kan. 2000); United States v. Birdman, 1992 WL 203318

(E.D. Pa. Aug. 14, 1992); United States v. Orozco, 108 F.R.D. 313, 315-16 (S.D. Cal. 1985);

United States v. Marchman, 399 F. Supp. 585, 586 (E.D. Tenn. 1975); Brodson, 390 F.Supp.

at 777-78 (“The progress reports represent but summaries of the monitored conversations

which are available in full for firsthand examination by the defendants.”).

       In this case, the defendant has the wiretap orders and access to the tapes of the

monitored conversations. The government also states that it has disclosed the monitors’ logs

to the defendant. In light of the foregoing, this court concludes that defendant Hurtado has

not established a basis for disclosure of the ten-day progress reports. See Brodson, 390 F.

Supp at 777-78.

                           Statements of Cooperating Individuals

       In seeking disclosure of statements of cooperating individuals, the defendant asserts

that the government has advised that there is one individual who has given an inculpatory

statement with respect to the defendant’s involvement in this indictment, but that the

government has not determined whether that person will be called as a witness at trial.

However, the defendant states that disclosure of the requested information is necessary for

her to properly prepare for trial and present an adequate defense.

       It is well settled that "[t]here is no general constitutional right to discovery in a criminal

case, and Brady, which addressed only exculpatory evidence, did not create one." Gray v.

Netherland, 518 U.S. 152, 168 (1996) (quoting Weatherford v. Bursey, 429 U.S. 545, 559

[1977]). However, in Brady v. Maryland, 373 U.S. 83, 87 (1963), the Supreme Court held that

                                                -5-


   Case 2:06-cr-00335-LA        Filed 08/03/07      Page 5 of 21     Document 113
"the suppression by the prosecution of evidence favorable to an accused upon request

violates due process where the evidence is material either to guilt or to punishment." Thus,

the government must disclose exculpatory evidence to a defendant. In Giglio v. United States,

405 U.S. 150 (1972), the Court held that the government's obligation under Brady includes the

disclosure of evidence affecting the credibility of a government witness. See also, United

States v. Bagley, 473 U.S. 667 (1985).    Brady does not grant criminal defendants unfettered

access to government files. United States v. Phillips, 854 F.2d 273, 277 (7th Cir. 1988).

       Nonetheless, certain federal procedural rules and the Jencks Act, 18 U.S.C. § 3500,

require the government to disclose certain information to a defendant. Rule 16 of the Federal

Rules of Criminal Procedure requires the disclosure of certain information upon the

defendant’s request, including the defendant’s oral, written, or recorded statement, certain

documents, expert witness testimony and reports of examinations and tests. Rule 26.2(a) of

the Federal Rules of Criminal Procedure requires the production, upon motion of a party, of

any statement of a witness, except the defendant, in the possession of the party calling that

witness after the witness testifies at trial. The statement must relate to the subject of the

witness’ testimony to require production. The Jencks Act “requires the government, upon the

defendant’s motion, to produce statements made by any of its witnesses which the particular

witnesses signed, adopted, or approved, and which pertain to their testimony at trial.” United

States v. Johnson, No. 99 -1414 (citations omitted). The evidentiary rules and the Jencks

Act pertain to disclosure of statements of witnesses who testify at trial.

       In this case, the government is following its “open file” policy and has provided

discovery to the defendant. Under the “open file” policy, the government provides witness’

statements to the defendant prior to trial. The defendant acknowledges that the prosecutor

                                              -6-


   Case 2:06-cr-00335-LA       Filed 08/03/07    Page 6 of 21     Document 113
advised that the cooperating individual has given an inculpatory statement about the

defendant and that the government has not definitively determined whether the cooperating

individual will be called as a witness at trial. Thus, it appears that the cooperating individual’s

statement will be provided to the defendant if the government decides to call that individual

to testify at trial.

        Although the defendant wants this individual’s statement even if the person is not a trial

witness, the defendant has provided no authority to support her position. Neither the federal

criminal procedural rules nor the Jencks Act lend support to the defendant. "A criminal

defendant is not entitled <to embark upon an unwarranted fishing expedition through

government files.'" United States v. Brown, 289 F.3d 989, 994 (7th Cir. 2002) (quoting United

States v. Phillips, 854 F.2d 273, 278 [7th Cir. 1988]). The defendant’s conclusory assertion

that the cooperating individual’s statement is necessary for her to adequately prepare for trial

is insufficient to require disclosure of this person’s statement if the person is not called to

testify. Therefore, the defendant’s motion to compel discovery of the cooperating individual’s

statement will be denied.

                                      Minimization Logs

        The defendant moved for production of the minimization logs because she had not

received the logs at the time the motion was filed, although the government indicated its

willingness to provide the logs. As noted, the government did not address production of the

minimization logs in its response to the defendant’s motion. The defendant has not advised

that the government did not provide the minimization logs as it indicated it would do shortly

after the defendant filed her motion. Under the circumstances, the court concludes that the



                                               -7-


    Case 2:06-cr-00335-LA       Filed 08/03/07     Page 7 of 21     Document 113
defendant received the requested minimization logs and, therefore, the defendant’s request

for the minimization logs will be denied as moot.

       In sum, for the reasons stated herein, the defendant has not established a basis for

disclosure of the information she seeks. Therefore, the defendant’s motion to compel

discovery be and hereby is denied. (Docket # 76).

                            MOTION TO SUPPRESS EVIDENCE

       Defendant Hurtado moves the court for an order prohibiting the government from

introducing any evidence at trial which was seized pursuant to the search warrant of her

residence on the grounds that there was insufficient probable cause for the issuance of the

warrant. In response, the government maintains that the affidavit of Special Agent Thomas

Gorecki in support of the search warrant for 1909 West Arthur Avenue, Milwaukee, Wisconsin,

clearly sets forth probable cause for issuance of the warrant.

                                           Analysis

       In determining whether probable cause exists to support a search warrant, the judge

must consider the totality of the circumstances. United States v. Brack, 188 F.3d 748, 755

(7th Cir. 1999) (citing Illinois v. Gates, 462 U.S. 213, 238 [1983]). “The task of the issuing

magistrate is simply to make a practical common-sense decision whether, given all the

circumstances set forth in the affidavit before him, including the ‘veracity’ and ‘basis of

knowledge’ of persons supplying hearsay information, there is a fair probability that contraband

or evidence of a crime will be found in a particular place.” United States v. Newsom, 402 F.3d

780, 782 (7th Cir. 2005), cert. denied,    U.S.     , 126 S. Ct. 1455 (2006) (quoting Illinois v.

Gates, 462 U.S. 213, 238 [1983]). “Probable cause is established when, based on the totality



                                             -8-


   Case 2:06-cr-00335-LA       Filed 08/03/07     Page 8 of 21     Document 113
of the circumstances, the affidavit sets forth sufficient evidence to induce a reasonably prudent

person to believe that a search will uncover evidence of a crime.” United States v. Peck, 317

F.3d 754, 756 (7th Cir. 2003); see also, United States v. Mykytiuk, 402 F.3d 773, 776 (7th Cir.

2005). “Probable cause denotes more than mere suspicion, but does not require certainty.”

United States. v. McNeese, 901 F.2d 585, 592 (7th Cir. 1990) (quoting United States v. Ellery,

678 F.2d 674, 677 [7th Cir. 1982]).

       “Probable cause does not require direct evidence linking a crime to a particular place.

Instead, issuing judges are entitled to draw reasonable inferences about where evidence is

likely to be found given the nature of the evidence and the type of offense.” United States v.

Anderson, 450 F.3d 294, 303 (7th Cir. 2006) (internal quotation marks and citations omitted).

       Thus, an “affidavit need not contain personal observations that such evidence was kept

at the residences."    McNeese, 901 F.2d at 596.          A judge making a probable cause

determination "need not determine that the evidence sought is in fact on the premises to be

searched . . . or that the evidence is more likely than not to be found where the search takes

place . . .. He need only conclude that it would be reasonable to seek the evidence in the

place indicated in the affidavit." United States v. Malin, 908 F.2d 163, 166 (7th Cir. 1990)

(emphasis in original) (quoting United States v. Peacock, 761 F.2d 1313, 1315 [9th Cir. 1985]);

see also, United States v. Sleet, 54 F.3d 303, 306 (7th Cir. 1995).

       In this case, the warrant authorized law enforcement officers to search for narcotics,

packaging materials, paraphernalia, drug trafficking proceeds and contraband relating to drug

trafficking and distribution, books, records, drug and money ledgers, customer lists,

photographs, other documents and indicia of ownership and other items. The affidavit

established that such records, documents, contraband, drug proceeds and other items are

                                              -9-


   Case 2:06-cr-00335-LA       Filed 08/03/07     Page 9 of 21     Document 113
likely to be maintained by large-scale drug traffickers in secure places like a residence,

business or other location over which they maintain dominion and control.

       The affidavit sets forth the background, training and experience of Special Agent

Gorecki, including his extensive experience in investigating large scale narcotics trafficking

during his 36 years as a law enforcement officer. Based on this training and experience, he

is familiar with the coded language utilized over the telephone to discuss drug trafficking and

knows the various code names used to describe controlled substances.

       The affidavit contains information about the investigation into the cocaine trafficking

activities of an organization in the Waukesha, Wisconsin area beginning in August 2005 and

the subsequent court orders in 2006 authorizing wiretaps and interception of telephone

conversations on designated telephones. The affidavit provides details about the on-going

drug trafficking of the organization, including numerous controlled buys made by a confidential

informant. The affidavit also recounts numerous monitored telephone conversations and

Special Agent Gorecki’s determination about the nature of these cryptic conversations.

       Specifically with respect to defendant Hurtado, the affidavit states that court authorized

monitoring of defendant Meraz’ cellular telephone showed that 28 drug-related conversations

were intercepted between the defendant and defendant Meraz. The affidavit recounts three

of these 28 conversations – conversations on October 6 and October 10, 2006 and November

23, 2006. Special Agent Gorecki avers that, based on his review and analysis of the

conversations, the defendant utilized another person to meet with and obtain cocaine from

defendant Meraz and that she received kilograms of cocaine from defendant Meraz.

       The lengthy affidavit in support of the warrant details extensive, on-going narcotics



                                             - 10 -


  Case 2:06-cr-00335-LA       Filed 08/03/07     Page 10 of 21     Document 113
trafficking and includes specific information about the defendant’s involvement with defendant

Meraz, apparently a key player in the drug trafficking. A judge issuing a search warrant is

entitled to draw reasonable inferences from the information presented in an affidavit. Direct

evidence linking criminal objects to a particular site is not required. Sleet, 54 F.3d at 306.

Rather, the task of the magistrate judge is to make a practical, common sense decision on

probable cause based on “all the circumstances set forth in the affidavit before him.” Illinois

v. Gates, 462 U.S. at 238. In this case, the issuing magistrate judge concluded that the

affidavit in support of the warrant to search the defendant’s residence was supported by

probable cause.

       The defendant also correctly observes that probable cause to search cannot be based

upon stale information which no longer suggests that the items sought will be found in the

place to be searched.     In determining whether probable cause exists, the age of the

information in the supporting affidavit is one factor the judge should consider; it is, however,

only one factor. See United States v. Lamon, 930 F.2d 1183, 1187-88 (7th Cir. 1991); United

States v. Batchelder, 824 F.2d 563, 564 (7th Cir. 1987). Where the facts in the affidavit

indicate “an ongoing, continuous criminal activity, the passage of time becomes less critical.”

Lamon, 930 F.2d at 1181 (citation omitted); see also, McNeese, 901 F.2d at 596. Moreover,

the court of appeals for this circuit has limited the role that staleness plays in the probable

cause calculus. United States v. Chapman, 954 F.2d 1352, 1373 (7th Cir. 1992) (citing United

States v. Certain Real Property, 943 F.2d 721, 724 [7th Cir. 1991]).

       Here, the affidavit in support of the search warrant recounts three of the 28 telephone

calls between the defendant and defendant Meraz. The affidavit also sets forth details of on-



                                             - 11 -


  Case 2:06-cr-00335-LA       Filed 08/03/07     Page 11 of 21     Document 113
going criminal activity. Thus, the passage of time is less critical. Lamon, 930 F.2d at 1181.

Accordingly, the court concludes that the information was not stale.

       “The probable cause inquiry is practical, not technical” and the court is to consider the

totality of the circumstances. Anderson. 450 F.3d at 303. Considering the totality of the

information in the affidavit, the court concludes that the affidavit in support of the search

warrant contained sufficient probable cause to support the search of the defendant’s

residence.

       Even if the court was to conclude that the affidavit failed to establish probable cause

that evidence of a crime would be found at the defendant’s residence, suppression of the

evidence is not warranted. In United States v. Leon, 468 U.S. 897, 926 (1984), the Supreme

Court held that an officer’s good faith reliance on a court’s determination of probable cause

should not lead to the exclusion of probative evidence simply because a reviewing court later

determined that probable cause was lacking. Thus, a facially valid warrant issued by a neutral,

detached magistrate will be upheld if the police relied on the warrant in good faith. Id. The

decision to seek a search warrant is prima facie evidence that an officer was acting in good

faith. United States v. Wiley, 475 F.3d 908, 917 (7th Cir. 2007) (citing United States v. Koerth,

312 F.3d 862, 866 [7th Cir. 2002]) cert. denied, __ U.S. __, 127 S. Ct. 2966 (2007); Peck, 317

F.3d at 757. “The defendant must defeat this presumption with evidence that the issuing

magistrate judge wholly abandoned his judicial role or that the officer’s affidavit was so lacking

in indicia of probable cause as to render official belief in its existence entirely unreasonable.”

Wiley, 475 F.3d at 917.

       In this case, the defendant does not argue that the judge abandoned his role as a

neutral and detached magistrate judge when he issued the warrant. Rather, she contends that

                                              - 12 -


  Case 2:06-cr-00335-LA        Filed 08/03/07     Page 12 of 21     Document 113
Agent Gorecki should have known that there was no probable cause to support the issuance

of the warrant. The court disagrees. To show that an affidavit was so lacking in indicia of

probable cause that official belief in its existence was unreasonable, a defendant must show

“that a reasonable officer would have known that the warrant did not support probable cause.”

United States v. Fairchild, 940 F.2d 261, 264 (7th Cir. 1991). The defendant has not met this

“difficult standard.” Id. Special Agent Gorecki’s good faith reliance on the warrant was not

unreasonable. Therefore, this court will recommend that the district judge enter an order

denying the defendant’s motion to suppress evidence.

                          MOTION TO SUPPRESS TITLE III
                    INTERCEPTED STATEMENTS OF ANA HURTADO

       Defendant Hurtado has filed a motion to suppress the Title III intercepted statements.

She asserts that the recorded statements involving her should be suppressed because the

affidavits for a Title III intercept subscribed by Agent Thomas Gorecki for the phone numbers

(414) 419-3920 and (414) 419-2979 lacked sufficient probable cause. Specifically, the

defendant maintains that the intercept applications for the phone numbers were primarily

based on conclusory statements of Agent Gorecki and, absent the conclusory statements, the

affidavits are legally insufficient. The defendant also makes a corollary argument, namely that

“the order of authorization or approval under which the recordings were obtained is insufficient

on its face when the affidavit in support fails to establish probable cause.” (Brief in Support

of Motion to Suppress Title III Intercepted Statements of Ana Hurtado at 6).

       Title III of the Omnibus Crime Control and Safe Streets Acts of 1968 (Act), 18 U.S.C.

§§ 2510 et seq., governs the interception of wire, electronic and oral communications by the

government as well as private parties. Title III prohibits the interception of wire and electronic


                                              - 13 -


  Case 2:06-cr-00335-LA        Filed 08/03/07     Page 13 of 21     Document 113
communications unless specifically authorized. 18 U.S.C. § 2511. Section 2518 of Title 18

of the United States Code sets out the procedure for the interception of wire, oral or electronic

communications. Section 2518(3) provides that before a judge can authorize interception, he

or she must determine:

       [O]n the basis of the facts submitted by the applicant that –

                    (a) there is probable cause for belief that an individual is
              committing, has committed, or is about to commit a particular
              offense enumerated in section 2516 of this chapter [18 USCS
              § 2516];

                     (b) there is probable cause for belief that particular
              communications concerning that offense will be obtained through
              such interception;

                     (c) normal investigative procedures have been tried and
              have failed or reasonably appear to be unlikely to succeed if tried
              or to be too dangerous;

                      (d) except as provided in subsection (11), there is probable
              cause for belief that the facilities from which, or the place where,
              the wire, oral, or electronic communications are to be intercepted
              are being used, or are about to be used, in connection with the
              commission of such offense, or are leased to, listed in the name
              of, or commonly used by such person.

18 U.S.C § 2518(3).

       The test for determining probable cause under Title III is the same as that for a

conventional search warrant. United States v. Wagner, 989 F.2d 69, 71 (2nd Cir. 1993);

United States v. Leisure, 844 F.2d 1347, 1354 (8th Cir. 1988); United States v. Plescia, 773

F.Supp. 1068, 1074 (N.D. Ill. 1991), aff'd. 48 F.3d 1452 (7th Cir. 1995). The issuing judge

must look at the "totality of the circumstances" to determine whether probable cause exists.

Illinois v. Gates, 462 U.S. 213 (1983); United States v. Hornick, 815 F.2d 1156, 1158 (7th Cir.

1987). Under this test, the judge must make "a practical, common sense decision whether,

                                             - 14 -


  Case 2:06-cr-00335-LA        Filed 08/03/07    Page 14 of 21     Document 113
given all the circumstances set forth in the affidavit before him . . . there is a fair probability that

contraband or evidence of a crime will be found in the particular place." Gates, 462 U.S. at

238; see also, Wagner, 989 F.2d at 72; United States v. Zambrana, 841 F.2d 1320, 1332 (7th

Cir. 1988); Plescia, 773 F.Supp. at 1074.

       A finding of probable cause "should be paid great deference by reviewing courts."

Gates, 462 U.S. at 236; United States v. Mancari, 663 F. Supp. 1343, 1354 (N.D. Ill. 1987);

United States v. Dorfman, 542 F. Supp. 345, 361 (N.D. Ill. 1982). The reviewing court only

needs to determine that the issuing court had a "substantial basis" for concluding that there

was probable cause for the interception. Gates, 462 U.S. at 238-39; Mancari, 663 F. Supp.

at 1354.

       The defendant contends that the intercept applications for telephone number (414) 419-

3920 and for telephone number (414) 419-2979 were based primarily on Agent Gorecki’s

“conclusory statements” and without the statements there was insufficient probable cause for

the interceptions. The defendant states that Agent Gorecki relates quotations from monitored

telephone conversations and “offers his interpretation of the meaning of the conversations

based upon ‘his training, experience, and familiarity with the investigation.’” (Brief in Support

of Motion to Suppress Title III Intercepted Statements of Ana Hurtado at 5). The defendant

maintains that although Agent Gorecki concluded that the conversations involved drug

transactions, “Gorecki’s interpretations of such conversations ignore the very real possibility

that the conversations are innocuous and unrelated to illegal activity.” Id.

       In response, the government asserts that Agent Gorecki’s affidavits provide ample

evidence to support United States District Court Judge Lynn Adelman’s probable cause

finding. The government asserts that, considered in their totality, the affidavits contain details

                                                - 15 -


   Case 2:06-cr-00335-LA         Filed 08/03/07      Page 15 of 21      Document 113
sufficient for a finding of probable cause to support the issuance of orders authorizing the

intercepts.

       The court has carefully reviewed the affidavits of Special Agent Gorecki in this case.

The affidavits set forth numerous conversation between defendant Teodoro Meraz and others

and include, among other information, surveillance observations, analysis of cell tower

information and the number and duration of certain telephone calls to the target phones. See,

e.g., Motion to Suppress Title III Intercepted Statements of Ana Hurtado, Exh. 1, ¶ 42. Special

Agent Gorecki relies on his training and experience to conclude that the stated telephone calls

were drug related. Although the conversations are often cryptic, a law enforcement officer

“may draw inferences based on his own experience in deciding whether probable cause

exists.” Ornelas v. United States, 517 U.S. 690, 699 (1996).

       Based on the court’s review, the affidavits, taken as a whole, establish that defendant

Meraz is discussing drug dealing in the conversations set forth in the affidavits. Agent Gorecki

interpreted the conversations based on his training, experience and familiarity with the

investigation. Moreover, contrary to the defendant’s assertion, the possibility of an innocent

explanation for activity described in the wiretap application does not negate the existence of

probable cause to support the wiretap application. Thus, the court concludes that the issuing

judge had a “substantial basis” for concluding that there was probable cause for the

interceptions. See Gates, 462 U.S. at 238-39.

       The defendant also asserts that the order of authorization for the intercepted

conversations is insufficient on its face because the affidavit in support of the order fails to

establish probable cause. Given this court’s conclusion that the affidavits at issue establish

probable cause, the defendant’s contentions with respect to the order of authorization is

                                             - 16 -


  Case 2:06-cr-00335-LA       Filed 08/03/07     Page 16 of 21     Document 113
without merit. Accordingly, this court will recommend that defendant Hurtado’s motion to

suppress the Title III intercepted statements be denied.

               MOTION TO DISMISS COUNT ONE OF THE INDICTMENT

      Defendant Hurtado also filed a motion to dismiss Count I of the indictment. The

defendant brings the motion pursuant to Fed. R. Crim. P. 12(b)(3), asserting that the

government lacks any evidence to support a finding that she conspired with her co-defendants

to distribute controlled substances. The defendant maintains that the government’s evidence

establishes only a buyer-seller relationship between her and defendant Meraz.

      Rule 12(b)(3) of the Federal Rules of Criminal Procedure lists the motions that must be

raised prior to trial. These include motions alleging a defect in the prosecution or the

indictment. Although not delineated by the defendant, it appears that the defendant’s motion

is based on an alleged defect in the indictment. See Fed. R. Crim. P. 12(b)(3)(B).

      Rule 7(c)(1) of the Federal Rules of Criminal Procedure requires an indictment be a

plain, concise, and definite written statement of the essential facts constituting the offense

charged. In United States v. Glecier, 923 F.2d 496, 499 (7th Cir. 1991), the court summarized

the standard for reviewing objections to the sufficiency of the indictment. There, the court

noted that, "in reviewing the sufficiency of an indictment, a court should consider the

challenged count as a whole and should refrain from reading it in a hypertechnical manner."

Glecier, 923 F.2d at 499 (quoting United States v. Gironda, 758 F.2d 1201, 1209 [7th Cir.

1985]). The court explained:

      The fifth amendment, with exceptions not relevant here, limits the power of the
      federal government to hold someone to answer for a felony "unless on a
      presentment or indictment of a Grand Jury." U.S. CONST. amend V. The sixth
      amendment then grants to all persons accused by the federal government of a
      crime several basic rights, including the right "to be informed of the nature and

                                            - 17 -


  Case 2:06-cr-00335-LA        Filed 08/03/07   Page 17 of 21    Document 113
       cause of the accusation." U.S. CONST. amend VI. The courts have long held
       that these broad principles break down into three requirements (sometimes
       grouped as two requirements, see, e.g., Hamling v. United States, 418 U.S. 87,
       117, 94 S.Ct. 2887, 2907, 41 L.Ed.2d 590 (1974)) for the sufficiency of an
       indictment: "The defendant is entitled to an indictment that [1] states all of the
       elements of the offense charged, [2] informs him of the nature of the charge so
       that a defense can be prepared, and [3] enables the defendant to evaluate any
       possible double jeopardy problems presented by the charge.

Glecier, 923 F.2d at 499 (citations omitted); see also, United States v. Palumbo Bros., Inc.,

145 F.3d 850, 860 (7th Cir. 1998). An indictment which meets the requirements of the Fifth

and Sixth Amendments also satisfies the specificity requirement of Fed. R. Crim. P. 7(c)(1).

As long as the words of the statute involved clearly set forth all of an offense's constituent

elements, it is generally sufficient that an indictment be stated in the words of the statute itself.

Hamling v. United States, 418 U.S. 87, 117-18 (1974); United States v. Raineri, 521 F.Supp.

16, 22 (W.D. Wis. 1980). Ordinarily the sufficiency of an indictment should be decided solely

by the charges made in the indictment without regard to the strength or weakness of the

government's case. United States v. Risk, 843 F.2d 1059 (7th Cir. 1988).

       In this case, the defendant does not argue that the indictment fails to identify the

essential elements of conspiracy.        Rather, the defendant challenges the ability of the

government to prove its case. The defendant contends that the evidence in the discovery

materials establishes at best a buyer-seller relationship between her and defendant Meraz,

not a conspiracy.

       By her motion, the defendant essentially is arguing that a trial is unnecessary because

the discovery materials contain insufficient facts to establish that she was involved in a

conspiracy to distribute cocaine. Thus, the defendant is asking this court to evaluate the

evidence and determine that it is insufficient to establish her participation in a drug conspiracy.


                                               - 18 -


  Case 2:06-cr-00335-LA         Filed 08/03/07     Page 18 of 21      Document 113
Such determination of the facts underlying the charged conspiracy count is appropriately a

matter for the jury, not the court. The jury necessarily will need to determine whether or not

the facts support the defendant’s involvement in a conspiracy to distribute cocaine as charged

in Count One based on all the evidence presented at trial. What specific evidence the

government will present with respect to the conspiracy charge is unknown at this point. The

discovery materials provide the defendant with an indication of the evidence that will be used

against her at trial, but such discovery is not all encompassing. The defendant wants this

court to invade the province of the jury and make a factual determination based solely on the

discovery materials provided. It is not the function of the court to do so.

       Moreover, a review of the indictment reveals that it meets sufficiency requirements.

Here, the government must prove the defendant was part of the conspiracy. To do so, the

government must establish that a conspiracy existed and that the defendant knowingly agreed

to join it. United States v. Albarran, 233 F.3d 972, 976 (7th Cir. 2000). The government must

also show that there is substantial evidence that the defendant "knew of the illegal objective

of the conspiracy and agreed to participate in its achievement." Id. (quoting United States v.

Burrell, 963 F.2d 976, 987 [7th Cir. 1992]). The government may construct a conspiracy case

using direct or circumstantial evidence. Albarran, 233 F.3d at 976.

       In this case, a review of the conspiracy count reveals that it sets forth the essential

elements of a conspiracy and provides adequate notice to the defendant of the charges so that

she can prepare a defense. On a motion to dismiss, the court does not test the strength of

the government's case, but must instead determine if the allegations are sufficient to charge

an offense.   United States v. Sampson, 371 U.S. 75, 78-79 (1962).            The defendant’s



                                             - 19 -


  Case 2:06-cr-00335-LA       Filed 08/03/07     Page 19 of 21    Document 113
arguments regarding the merits of her case and the government’s evidence are more

appropriately addressed at trial.

        Accordingly, the defendant has failed to establish a basis to dismiss Count I of the

indictment. Therefore, this court will recommend that defendant Hurtado’s motion to dismiss

Count I be denied.

                                        CONCLUSION

        NOW, THEREFORE, IT IS HEREBY RECOMMENDED that the United States district

judge enter an order denying defendant Ana Hurtado's motion to suppress evidence. (Docket

#77).

        IT IS FURTHER RECOMMENDED that the United States district judge enter an order

denying defendant Ana Hurtado's motion to suppress Title III intercepted statements of Ana

Hurtado. (Docket #78).

        IT IS ALSO RECOMMENDED that the United States district judge enter an order

denying defendant Ana Hurtado’s motion to dismiss Count One of the indictment (Docket

#79).

        IT IS ORDERED that defendant Ana Hurtado's motion to disclose Rule 404(b) evidence

be and hereby is granted. (Docket #72).

        IT IS ALSO ORDERED that defendant Ana Hurtado’s motion to compel discovery be

and hereby is denied. (Docket #76).

        Your attention is directed to 28 U.S.C. § 636(b)(1)(A) and General Local Rule 72.3 (E.D.

Wis.), whereby written objections to any order or recommendation herein or part thereof may

be filed within ten days of service of this order. Objections are to be filed in accordance with


                                             - 20 -


  Case 2:06-cr-00335-LA        Filed 08/03/07    Page 20 of 21     Document 113
the Eastern District of Wisconsin's electronic case filing procedures. Courtesy paper copies

of any objections shall be sent directly to the chambers of the district judge assigned to the

case. Failure to file a timely objection with the district court shall result in a waiver of your right

to appeal.

         Dated at Milwaukee, Wisconsin this 3rd day of August, 2007.

                                                     BY THE COURT:

                                                         s/ Patricia J. Gorence
                                                     PATRICIA J. GORENCE
                                                     United States Magistrate Judge




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   Case 2:06-cr-00335-LA        Filed 08/03/07      Page 21 of 21      Document 113
